                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 1 of 25
B6A (Official Form 6A) (12/07)



In re Henry Jones                                                     Case No.                         12-34266
                                                                                                             (if known)

                                             CONVERSION
                                     SCHEDULE A - REAL PROPERTY


                                                                                                          Current Value




                                                                               Husband, Wife, Joint,
                                                                                                           of Debtor's
                   Description and                   Nature of Debtor's




                                                                                 or Community
                                                                                                            Interest in
                     Location of                    Interest in Property
                                                                                                        Property, Without    Amount Of
                      Property                                                                                              Secured Claim
                                                                                                         Deducting Any
                                                                                                         Secured Claim
                                                                                                          or Exemption


 10239 Dusty Hollow Lane                       Homestead                          C                          $199,115.00      $147,503.44
 LT 1 BLK 2
 CLEAR BROOK CROSSING SEC 4




                                                                           Total:                            $199,115.00
                                                                           (Report also on Summary of Schedules)
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 2 of 25
B6B (Official Form 6B) (12/07)




In re Henry Jones                                                                           Case No.     12-34266
                                                                                                                (if known)

                                                               CONVERSION
                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                              Without Deducting
                                                                                                                                                any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-      X
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Living Room: Sofa, love seat, sectional, side chair, recliner,             J                       $1,660.00
including audio, video and computer              coffeetable, two endtables, tv, stereo and four lamps
equipment.
                                                 Bedroom One: King bed, dresser, chest of drawers, 2 night                  J                       $1,235.00
                                                 stands, clock and tve

                                                 Bedroom Two: full bed, dresser, chest of drawers, night                    J                         $245.00
                                                 stand lamp

                                                 Bedroom Three: full bed, dresser, chest of drawers, night                  J                         $245.00
                                                 stand and lamp

                                                 Kitchen and Dining Room: stove, refrigerator, dishwasher,                  J                       $1,495.00
                                                 trash compacter, microwave oven, small appliances, pots
                                                 and pans, dishes, glassware, flatware, sterlingware, table
                                                 with 4 chairs

                                                 Bathroom: towels and linens                                                J                         $300.00

                                                 Garage/Utility Room: Washer and dryer                                      J                         $500.00
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 3 of 25
B6B (Official Form 6B) (12/07) -- Cont.




In re Henry Jones                                                                            Case No.   12-34266
                                                                                                               (if known)

                                                                CONVERSION
                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property              None                  Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption


5. Books; pictures and other art           X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               Male Clothing: suits, shirts, shoes, pants, coats                        J                         $775.00

                                                  Female Clothing: dresses, suits, blouses, slacks, shoes                  J                         $500.00
                                                  and pants



7. Furs and jewelry.                              Male Jewlery: watches and wedding ring                                   J                         $500.00

                                                  Female Jewelry: watch, wedding ring, necklace and                        J                         $500.00
                                                  bracelets



8. Firearms and sports, photo-                    2 Camera and sports equipment                                            J                         $260.00
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 4 of 25
B6B (Official Form 6B) (12/07) -- Cont.




In re Henry Jones                                                                Case No.     12-34266
                                                                                                     (if known)

                                                      CONVERSION
                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                           Husband, Wife, Joint,
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                             or Community
                                                                                                                                      in Property,

             Type of Property               None       Description and Location of Property
                                                                                                                                   Without Deducting
                                                                                                                                     any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption


12. Interests in IRA, ERISA, Keogh,         X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-         X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 5 of 25
B6B (Official Form 6B) (12/07) -- Cont.




In re Henry Jones                                                                        Case No.     12-34266
                                                                                                             (if known)

                                                              CONVERSION
                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 3




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,

             Type of Property              None                Description and Location of Property
                                                                                                                                           Without Deducting
                                                                                                                                             any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption


21. Other contingent and unliqui-          X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other         X
intellectual property. Give
particulars.

23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                1994 Ford Ranger                                                       J                       $2,500.00
and other vehicles and accessories.

26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 6 of 25
B6B (Official Form 6B) (12/07) -- Cont.




In re Henry Jones                                                                             Case No.     12-34266
                                                                                                                  (if known)

                                                                CONVERSION
                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                         Husband, Wife, Joint,
                                                                                                                                                 Current Value of
                                                                                                                                                 Debtor's Interest




                                                                                                                           or Community
                                                                                                                                                    in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                 Without Deducting
                                                                                                                                                   any Secured
                                                                                                                                                      Claim or
                                                                                                                                                     Exemption


31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                          $10,715.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 7 of 25
B6C (Official Form 6C) (4/10)



In re Henry Jones                                                                                 Case No.   12-34266
                                                                                                                    (If known)

                                                                   CONVERSION
                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 10239 Dusty Hollow Lane                                  Const. art. 16 §§ 50, 51, Texas Prop.                 $51,611.56            $199,115.00
 LT 1 BLK 2                                               Code §§ 41.001-.002
 CLEAR BROOK CROSSING SEC 4

 Living Room: Sofa, love seat, sectional, side            Tex. Prop. Code §§ 42.001(a), 42.002                   $1,660.00              $1,660.00
 chair, recliner, coffeetable, two endtables, tv,         (a)(1)
 stereo and four lamps

 Bedroom One: King bed, dresser, chest of                 Tex. Prop. Code §§ 42.001(a), 42.002                   $1,235.00              $1,235.00
 drawers, 2 night stands, clock and tve                   (a)(1)

 Bedroom Two: full bed, dresser, chest of                 Tex. Prop. Code §§ 42.001(a), 42.002                     $245.00                $245.00
 drawers, night stand lamp                                (a)(1)

 Bedroom Three: full bed, dresser, chest of               Tex. Prop. Code §§ 42.001(a), 42.002                     $245.00                $245.00
 drawers, night stand and lamp                            (a)(1)

 Kitchen and Dining Room: stove, refrigerator,            Tex. Prop. Code §§ 42.001(a), 42.002                   $1,495.00              $1,495.00
 dishwasher, trash compacter, microwave oven,             (a)(1)
 small appliances, pots and pans, dishes,
 glassware, flatware, sterlingware, table with 4
 chairs

 Bathroom: towels and linens                              Tex. Prop. Code §§ 42.001(a), 42.002                     $300.00                $300.00
                                                          (a)(1)

 Garage/Utility Room: Washer and dryer                    Tex. Prop. Code §§ 42.001(a), 42.002                     $500.00                $500.00
                                                          (a)(1)




* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $57,291.56            $204,795.00
                    Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 8 of 25
B6C (Official Form 6C) (4/10) -- Cont.



In re Henry Jones                                                                     Case No.   12-34266
                                                                                                        (If known)

                                                           CONVERSION
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                        Continuation Sheet No. 1



                                                                                                                          Current
                                                                                                                     Value of Property
                                                         Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                  Exemption                     Exemption                Exemption



 Male Clothing: suits, shirts, shoes, pants, coats   Tex. Prop. Code §§ 42.001(a), 42.002              $775.00                $775.00
                                                     (a)(5)

 Female Clothing: dresses, suits, blouses,           Tex. Prop. Code §§ 42.001(a), 42.002              $500.00                $500.00
 slacks, shoes and pants                             (a)(5)

 Male Jewlery: watches and wedding ring              Tex. Prop. Code §§ 42.001(a), 42.002              $500.00                $500.00
                                                     (a)(6)

 Female Jewelry: watch, wedding ring, necklace       Tex. Prop. Code §§ 42.001(a), 42.002              $500.00                $500.00
 and bracelets                                       (a)(6)

 2 Camera and sports equipment                       Tex. Prop. Code §§ 42.001(a), 42.002              $260.00                $260.00
                                                     (a)(8)

 1994 Ford Ranger                                    Tex. Prop. Code §§ 42.001(a), 42.002            $2,500.00              $2,500.00
                                                     (a)(9)




                                                                                                    $62,326.56            $209,830.00
                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 9 of 25
B6D (Official Form 6D) (12/07)
          In re Henry Jones                                                                                             Case No. 12-34266
                                                                                                                                                    (if known)

                                                                                             CONVERSION
                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                  AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: xxxxxx1603                                                                NATURE OF LIEN:
                                                                                  Purchase Money
Ocwen Loan Servicing, LLC                                                         COLLATERAL:
                                                                                  10239 Dusty Hollow Lane, Houston, TX 77089                    $147,503.44
Attn: Cashiering Department                                   C                   REMARKS:
1661 Worthington Rd. Suite 100
West Palm Beach, Florida 33409


                                                                                  VALUE:                          $199,115.00




                                                                                                       Subtotal (Total of this Page) >            $147,503.44               $0.00
                                                                                                      Total (Use only on last page) >             $147,503.44                $0.00
________________continuation
       No                    sheets attached                                                                                                   (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)
                   Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 10 of 25
B6E (Official Form 6E) (04/10)

In re Henry Jones                                                                                 Case No.        12-34266
                                                                                                                          (If Known)

                                                                     CONVERSION
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                 Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 11 of 25
B6F (Official Form 6F) (12/07)
  In re Henry Jones                                                                                              Case No. 12-34266
                                                                                                                              (if known)

                                                                                         CONVERSION
                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xx7569                                                                        DATE INCURRED:   03/2010
                                                                                      CONSIDERATION:
Adam Ross Paul Inc                                                                    Collection Attorney                                                $424.00
10039 Bissonnet St Ste 3                                                              REMARKS:
                                                                C
Houston, TX 77036



ACCT #: xxxxxx4439                                                                    DATE INCURRED:   01/2012
                                                                                      CONSIDERATION:
Afni                                                                                  Collection Attorney                                                $985.00
Attention: Bankruptcy                                                                 REMARKS:
                                                                C
1310 Martin Luther King Dr
Bloomington, IL 61701

ACCT #: xxxxxx2769                                                                    DATE INCURRED:   07/2010
                                                                                      CONSIDERATION:
Afni, Inc.                                                                            Factoring Company Account                                          $523.00
Attn: Bankruptcy                                                                      REMARKS:
                                                                C
PO Box 3097
Bloomington, IL 61702

ACCT #: xx5471                                                                        DATE INCURRED:   11/2011
                                                                                      CONSIDERATION:
Capio Partners Llc                                                                    Collection Attorney                                              $1,747.00
2222 Texoma Pkwy Ste 150                                                              REMARKS:
                                                                C
Sherman, TX 75090



ACCT #: xx5472                                                                        DATE INCURRED:   11/2011
                                                                                      CONSIDERATION:
Capio Partners Llc                                                                    Collection Attorney                                                $939.00
2222 Texoma Pkwy Ste 150                                                              REMARKS:
                                                                C
Sherman, TX 75090



ACCT #: xx5470                                                                        DATE INCURRED:   11/2011
                                                                                      CONSIDERATION:
Capio Partners Llc                                                                    Collection Attorney                                                $194.00
2222 Texoma Pkwy Ste 150                                                              REMARKS:
                                                                C
Sherman, TX 75090



                                                                                                                                 Subtotal >             $4,812.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 12 of 25
B6F (Official Form 6F) (12/07) - Cont.
  In re Henry Jones                                                                                                  Case No. 12-34266
                                                                                                                                  (if known)

                                                                                             CONVERSION
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxx6507                                                                           DATE INCURRED:   12/2011
                                                                                          CONSIDERATION:
Cbcs                                                                                      Collection Attorney                                                $228.00
Po Box 163250                                                                             REMARKS:
                                                                    C
Columbus, OH 43216



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Clearlake Regional Medical Center                                                         Medical                                                          $12,000.00
500 W Medical Center Blvd                                                                 REMARKS:
                                                                    C
Webster, TX 77598



ACCT #: xxxx5077                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Collection/First Financial Resources                                                      Unknown Loan Type                                                  $503.00
209 West Central St                                                                       REMARKS:
                                                                    C
Suite 107
Natick, MA 01760

ACCT #: xxxx8113                                                                          DATE INCURRED:   04/2011
                                                                                          CONSIDERATION:
Enhanced Recovery Corp                                                                    Collection Attorney                                                $345.00
Attention: Client Services                                                                REMARKS:
                                                                    C
8014 Bayberry Rd
Jacksonville, FL 32256

ACCT #: xxxx4338                                                                          DATE INCURRED:   08/2010
                                                                                          CONSIDERATION:
Enhanced Recovery Corp                                                                    Collection Attorney                                                $132.00
Attention: Client Services                                                                REMARKS:
                                                                    C
8014 Bayberry Rd
Jacksonville, FL 32256

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Hermann Memorial                                                                          Medical                                                          $30,000.00
11800 Astoria Blvd                                                                        REMARKS:
                                                                    C
Houston, TX 77089



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                                 Subtotal >             $43,208.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 13 of 25
B6F (Official Form 6F) (12/07) - Cont.
  In re Henry Jones                                                                                                  Case No. 12-34266
                                                                                                                                  (if known)

                                                                                             CONVERSION
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx9480                                                                          DATE INCURRED:   04/2007
                                                                                          CONSIDERATION:
Nco Fin/38                                                                                Collection Attorney                                                $340.00
2360 Campbell Crk Ste 50                                                                  REMARKS:
                                                                    C
Richardson, TX 75082



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
UTMB                                                                                      Medical                                                          $2,000.00
301 University Boulevard                                                                  REMARKS:
                                                                    C
Galveston, TX 77555




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                                 Subtotal >             $2,340.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $50,360.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 14 of 25
B6G (Official Form 6G) (12/07)
   In re Henry Jones                                                                    Case No.     12-34266
                                                                                                        (if known)

                                                              CONVERSION
                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                   Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 15 of 25
B6H (Official Form 6H) (12/07)
In re Henry Jones                                                                                  Case No.      12-34266
                                                                                                                        (if known)

                                                                      CONVERSION
                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR

  Jones, Cheryl D.
  10239 Dusty Hollow Lane
  Houston, TX 77089




  Jones, Cheryl D.                                                              Adam Ross Paul Inc
  10239 Dusty Hollow Lane                                                       10039 Bissonnet St Ste 3
  Houston, TX 77089                                                             Houston, TX 77036



  Jones, Cheryl D.                                                              Afni
  10239 Dusty Hollow Lane                                                       Attention: Bankruptcy
  Houston, TX 77089                                                             1310 Martin Luther King Dr
                                                                                Bloomington, IL 61701


  Jones, Cheryl D.                                                              Afni, Inc.
  10239 Dusty Hollow Lane                                                       Attn: Bankruptcy
  Houston, TX 77089                                                             PO Box 3097
                                                                                Bloomington, IL 61702


  Jones, Cheryl D.                                                              Capio Partners Llc
  10239 Dusty Hollow Lane                                                       2222 Texoma Pkwy Ste 150
  Houston, TX 77089                                                             Sherman, TX 75090



  Jones, Cheryl D.                                                              Capio Partners Llc
  10239 Dusty Hollow Lane                                                       2222 Texoma Pkwy Ste 150
  Houston, TX 77089                                                             Sherman, TX 75090



  Jones, Cheryl D.                                                              Capio Partners Llc
  10239 Dusty Hollow Lane                                                       2222 Texoma Pkwy Ste 150
  Houston, TX 77089                                                             Sherman, TX 75090
                   Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 16 of 25
B6H (Official Form 6H) (12/07) - Cont.


In re Henry Jones                                                             Case No.   12-34266
                                                                                                (if known)

                                                      CONVERSION
                                               SCHEDULE H - CODEBTORS
                                                   Continuation Sheet No. 1




                    NAME AND ADDRESS OF CODEBTOR                                NAME AND ADDRESS OF CREDITOR




  Jones, Cheryl D.                                             Cbcs
  10239 Dusty Hollow Lane                                      Po Box 163250
  Houston, TX 77089                                            Columbus, OH 43216



  Jones, Cheryl D.                                             Clearlake Regional Medical Center
  10239 Dusty Hollow Lane                                      500 W Medical Center Blvd
  Houston, TX 77089                                            Webster, TX 77598



  Jones, Cheryl D.                                             Collection/First Financial Resources
  10239 Dusty Hollow Lane                                      209 West Central St
  Houston, TX 77089                                            Suite 107
                                                               Natick, MA 01760


  Jones, Cheryl D.                                             Enhanced Recovery Corp
  10239 Dusty Hollow Lane                                      Attention: Client Services
  Houston, TX 77089                                            8014 Bayberry Rd
                                                               Jacksonville, FL 32256


  Jones, Cheryl D.                                             Enhanced Recovery Corp
  10239 Dusty Hollow Lane                                      Attention: Client Services
  Houston, TX 77089                                            8014 Bayberry Rd
                                                               Jacksonville, FL 32256


  Jones, Cheryl D.                                             Hermann Memorial
  10239 Dusty Hollow Lane                                      11800 Astoria Blvd
  Houston, TX 77089                                            Houston, TX 77089



  Jones, Cheryl D.                                             Nco Fin/38
  10239 Dusty Hollow Lane                                      2360 Campbell Crk Ste 50
  Houston, TX 77089                                            Richardson, TX 75082
                   Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 17 of 25
B6H (Official Form 6H) (12/07) - Cont.


In re Henry Jones                                                             Case No.    12-34266
                                                                                                 (if known)

                                                      CONVERSION
                                               SCHEDULE H - CODEBTORS
                                                   Continuation Sheet No. 2




                    NAME AND ADDRESS OF CODEBTOR                                NAME AND ADDRESS OF CREDITOR




  Jones, Cheryl D.                                             Ocwen Loan Servicing, LLC
  10239 Dusty Hollow Lane                                      Attn: Cashiering Department
  Houston, TX 77089                                            1661 Worthington Rd. Suite 100
                                                               West Palm Beach, Florida 33409


  Jones, Cheryl D.                                             UTMB
  10239 Dusty Hollow Lane                                      301 University Boulevard
  Houston, TX 77089                                            Galveston, TX 77555
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B6I (Official Form 6I) (12/07)
In re Henry Jones                                                                                Case No.     12-34266
                                                                                                                   (if known)

                                                                   CONVERSION
                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                            Dependents of Debtor and Spouse
                                 Relationship(s): Grand daughter Age(s): 16 years    Relationship(s):                             Age(s):
           Married
                                                  Grandson               13 years




 Employment:                      Debtor                                                     Spouse
 Occupation                      Manager
 Name of Employer                Pep Boys
 How Long Employed               3 weeks
 Address of Employer             3111 W. Allegheny Ave
                                 Philadelphia, PA 19132

INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $4,499.99                     $0.00
2. Estimate monthly overtime                                                                                        $0.00                     $0.00
3. SUBTOTAL                                                                                                     $4,499.99                       $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $337.33                       $0.00
   b. Social Security Tax                                                                                         $279.00                       $0.00
   c. Medicare                                                                                                     $65.26                       $0.00
   d. Insurance                                                                                                     $0.00                       $0.00
   e. Union dues                                                                                                    $0.00                       $0.00
   f. Retirement                                                                                                    $0.00                       $0.00
   g. Other (Specify)                                                                                               $0.00                       $0.00
   h. Other (Specify)                                                                                               $0.00                       $0.00
   i. Other (Specify)                                                                                               $0.00                       $0.00
   j. Other (Specify)                                                                                               $0.00                       $0.00
   k. Other (Specify)                                                                                               $0.00                       $0.00
5.    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                              $681.59                       $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $3,818.40                       $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00                      $0.00
8.  Income from real property                                                                                        $0.00                      $0.00
9.  Interest and dividends                                                                                           $0.00                      $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00                      $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00                      $0.00
12. Pension or retirement income                                                                                     $0.00                      $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00                      $0.00
      b.                                                                                                             $0.00                      $0.00
      c.                                                                                                             $0.00                      $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00                      $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $3,818.40                       $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $3,818.40
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
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B6J (Official Form 6J) (12/07)
  IN RE: Henry Jones                                                                            Case No.     12-34266
                                                                                                                  (if known)

                                                                   CONVERSION
                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,258.00
    a. Are real estate taxes included?           Yes         No
    b. Is property insurance included?           Yes         No

 2. Utilities: a. Electricity and heating fuel                                                                                               $150.00
               b. Water and sewer                                                                                                             $75.00
               c. Telephone
               d. Other: Gas                                                                                                                  $60.00
 3. Home maintenance (repairs and upkeep)                                                                                                    $100.00
 4. Food                                                                                                                                     $650.00
 5. Clothing                                                                                                                                 $150.00
 6. Laundry and dry cleaning                                                                                                                  $75.00
 7. Medical and dental expenses                                                                                                              $250.00
 8. Transportation (not including car payments)                                                                                              $500.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $75.00
 10. Charitable contributions                                                                                                                $100.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                            $80.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                 $320.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $3,843.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.



 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $3,818.40
 b. Average monthly expenses from Line 18 above                                                                                           $3,843.00
 c. Monthly net income (a. minus b.)                                                                                                       ($24.60)
               Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 20 of 25
                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
IN RE:   Henry Jones                                       CASE NO   12-34266

                                                           CHAPTER   13
                                         CONVERSION
                                   EXHIBIT TO SCHEDULE J




                                   Itemized Personal Expenses

Expense                                                                             Amount

Cell Phone                                                                           $150.00
Cable                                                                                 $85.00
Toiletries/Hygiene                                                                    $85.00

                                                                      Total >       $320.00
                  Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 21 of 25
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re Henry Jones                                                                 Case No.     12-34266

                                                                                     Chapter      13

                                                               CONVERSION
                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $199,115.00


 B - Personal Property                           Yes      5                  $10,715.00


 C - Property Claimed                            Yes      2
     as Exempt
 D - Creditors Holding                           Yes      1                                         $147,503.44
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      3                                            $50,360.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      3


 I - Current Income of                           Yes      1                                                                  $3,818.40
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      2                                                                  $3,843.00
    Individual Debtor(s)

                                             TOTAL        20                $209,830.00             $197,863.44
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
   In re Henry Jones                                                                  Case No.      12-34266

                                                                                      Chapter       13

                                                                CONVERSION
     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 16)                                     $3,818.40

 Average Expenses (from Schedule J, Line 18)                                   $3,843.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $4,346.81

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $50,360.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $50,360.00
                 Case 12-34266 Document 117 Filed in TXSB on 09/19/17 Page 23 of 25
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Henry Jones                                                                      Case No.     12-34266
                                                                                                           (if known)

                                                           CONVERSION
                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 9/19/2017                                               Signature    /s/ Henry Jones
                                                                         Henry Jones

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Henry Jones                                                             CASE NO    12-34266

                                                                                  CHAPTER     13
                                                       CONVERSION
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/19/2017                                           Signature    /s/ Henry Jones
                                                                     Henry Jones



Date                                                     Signature
                    Case 12-34266 Document
 Debtor(s): Henry Jones
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                                       Case No: 12-34266
                                                                                  of 25
                                                                               SOUTHERN DISTRICT OF TEXAS
                                            Chapter: 13                                      HOUSTON DIVISION


Adam Ross Paul Inc                       Nco Fin/38
10039 Bissonnet St Ste 3                 2360 Campbell Crk Ste 50
Houston, TX 77036                        Richardson, TX 75082



Afni                                     Ocwen Loan Servicing, LLC
Attention: Bankruptcy                    Attn: Cashiering Department
1310 Martin Luther King Dr               1661 Worthington Rd. Suite 100
Bloomington, IL 61701                    West Palm Beach, Florida 33409


Afni, Inc.                               UTMB
Attn: Bankruptcy                         301 University Boulevard
PO Box 3097                              Galveston, TX 77555
Bloomington, IL 61702


Capio Partners Llc
2222 Texoma Pkwy Ste 150
Sherman, TX 75090



Cbcs
Po Box 163250
Columbus, OH 43216



Cheryl D. Jones
10239 Dusty Hollow Lane
Houston, TX 77089



Clearlake Regional Medical Center
500 W Medical Center Blvd
Webster, TX 77598



Collection/First Financial Resources
209 West Central St
Suite 107
Natick, MA 01760


Enhanced Recovery Corp
Attention: Client Services
8014 Bayberry Rd
Jacksonville, FL 32256


Hermann Memorial
11800 Astoria Blvd
Houston, TX 77089
